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                                             ORDER

       Considering the Unopposed Motion for Entry of Joint Stipulated Protective Order (R. Doc.

87), the proposed Joint Stipulated Protective Order (R. Doc. 87-1), and for good cause shown;

       IT IS ORDERED that the Unopposed Motion for Entry of Joint Stipulated Protective

Order (R. Doc. 87) is GRANTED, and the attached Joint Stipulated Protective Order is entered

into the record of the above-referenced matter. Modifications by the Court are bolded for ease of

reference.

       The parties are also reminded that regardless of any designation of documents exchanged

in discovery as confidential pursuant to the Protective Order Regarding Confidential Information,

the United States Court of Appeals for the Fifth Circuit requires a “stricter balancing standard” to
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determine whether any documents may be filed into the court record under seal. See Binh Hoa Le

v. Exeter Fin. Corp., 990 F.3d 410, 416-421 (5th Cir. 2021).

       Signed in Baton Rouge, Louisiana, on July 24, 2024.


                                            S
                                            ERIN WILDER-DOOMES
                                            UNITED STATES MAGISTRATE JUDGE




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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

VOICE OF THE EXPERIENCED, a               *
membership organization on behalf of      *
itself and its members; and MYRON         *
SMITH, DAMARIS JACKSON, NATE *              CIVIL ACTION
WALKER, DARRIUS WILLIAMS,                 *
KEVIAS HICKS, JOSEPH                      *
GUILLORY, KENDRICK                        * NO.: 3:23-cv-1304
STEVENSON, and ALVIN WILLIAMS, *
on behalf of themselves and all others    *
similarly situated,                       * JUDGE BRIAN A. JACKSON
                                          *
VERSUS                                    *
                                          * MAGISTRATE JUDGE
JAMES LEBLANC, in his official            * ERIN WILDER-DOOMES
capacity as Secretary of the Louisiana    *
Department of Public Safety and           *
Corrections; TIMOTHY HOOPER,              *
in his official capacity as Warden of     *
Louisiana State Penitentiary; MISTY       *
STAGG, in her official capacity as        *
Director of Prison Enterprises, Inc.; the *
LOUISIANA DEPARTMENT OF                   *
PUBLIC SAFETY & CORRECTIONS; *
and PRISON ENTERPRISES, INC.              *
******************************************************************************
                      JOINT STIPULATED PROTECTIVE ORDER

I.   Scope

     1.     This Stipulation is entered into to facilitate the production, exchange, and discovery of

            documents and information by any party or non-party that contain private medical

            information, including but not limited to “Protected Health Information” as defined

            under the Health Insurance Portability and Accountability Act, 45 C.F.R. § 160.103 and

            “Individually Identifiable Health Information” as defined under the Health Insurance

            Portability and Accountability Act, 45 C.F.R. § 160.103.




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      2.     This Stipulation also governs the taking of photographs and video recordings during

             the Plaintiffs’ inspection of the premises of Louisiana State Penitentiary located at

             17544 Tunica Trace, Angola, Louisiana, 70712 (“Angola”).

      3.     This Stipulation shall not affect the scope of discovery by any party that is not otherwise

             proper under the Federal Rules of Civil Procedure.

II.   Definitions

      4.     “Defendants” means the individuals and entities listed in the above caption, their

             counsel and persons employed by their counsel.

      5.     “Discovery” means all information, documents, and things subject to discovery or used

             as evidence in this action, whether produced by any party or a third party, including,

             but not limited to, documents and information produced pursuant to Fed. R. Civ. P. 26,

             testimony adopted at depositions pursuant to Fed. R. Civ. P. 30 or 31, answers to

             interrogatories pursuant to Fed. R. Civ. P. 33, documents produced pursuant to Fed. R.

             Civ. P. 34, information obtained from inspections of premises or things pursuant to

             Fed. R. Civ. P. 34, and answers to requests for admissions pursuant to Fed. R. Civ. P.

             36.

      6.     “Inspection” means the agreement between the Parties made pursuant to Federal Rule

             of Civil Procedure 34(a)(2) that Plaintiffs be permitted to inspect, survey, measure,

             photograph, videotape, test, and/or sample the premises of the Louisiana State

             Penitentiary located at 17544 Tunica Trace, Angola, Louisiana 70712 (“Angola”).

      7.     “Parties” means Plaintiffs, Defendants, their respective counsel and persons employed

             by their counsel.




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     8.     “Plaintiffs” means Plaintiffs named in the above-captioned action and members of the

            putative class.

     9.     “Plaintiffs’ Counsel” means Plaintiffs’ attorneys, as well as other attorneys employed

            by or associated with Plaintiffs’ attorneys for purposes of this litigation, non-attorney

            employees of Plaintiffs’ attorneys, and contractors retained by Plaintiffs’ attorneys for

            purposes of this litigation.

     10.    “Protected Health Information” (hereinafter, PHI) has the meaning set forth in the

            Health Insurance Portability and Accountability Act, 45 C.F.R. § 160.103.

     11.    “Individually Identifiable Health Information” (hereinafter, IIHI) has the meaning set

            forth in the Health Insurance Portability and Accountability Act, 45 C.F.R. § 160.103.

III. Access to and Protection of Records Containing PHI and IIHI

     12.    Applicability: All documents containing IIHI and/or PHI shall be presumed without

            further designation to be subject to the provisions set forth below in paragraphs 13–24.

     13.    Notwithstanding paragraph 12 above, a Party may opt to designate any document as

            containing PHI or IIHI by stamping it with the following statement “Confidential.” Any

            Party may challenge the applicability of this Order to documents so stamped by

            notifying the opposing counsel in writing. Should the Parties be unable to resolve the

            dispute, any Party may file an appropriate motion with the Court pursuant to L.R. 37

            and Fed. R.Civ. P. 26(c).

     14.    Limits on Disclosure: Except upon express permission of the subject of the medical or

            mental health record, or their legal representative or other person authorized to provide

            such permission, the Parties will not disclose PHI or IIHI except to: (1) the subject of

            the health record; (2) the Parties’ counsel’s staff, experts or consultants retained for the




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      purpose of this litigation, subject to the limits set forth below; (3) LSP health care staff

      to the extent necessary for providing health care to the subject of the record or to the

      extent necessary to defend or prosecute litigation; (4) deponents and trial witnesses,

      subject to the limits set forth below; (5) court reporters and other court personnel as is

      necessary to conduct this litigation; or (6) any other person agreed upon by the Parties

      and confirmed in writing.

15.   Permissible Uses: Persons authorized to access unredacted documents containing PHI

      or IIHI under this Order shall use the information only for the purpose of this specific

      action/litigation specified by the style above (including appeals and trials), and shall

      not use such information for any other purpose.

16.   Deponents and Witnesses: A deponent or trial witness may, during preparation for

      deposition or trial, or during deposition or trial, be shown and examined about PHI or

      IIHI to the extent that such information is relevant to his or her testimony. In such

      instances, deponents and trial witnesses shall be informed of, familiar with, and subject

      to the disclosure provisions of this Order.

17.   Experts and Consultants: All experts and consultants retained by the Parties for the

      purpose of this litigation shall subject to and shall review and be familiar with the terms

      of this Order.

18.   Protection of Information: All persons allowed access to PHI or IIHI pursuant to this

      Order shall take reasonable and necessary steps to maintain all such materials and

      information, and any copies, notes, extracts, summaries, or descriptions of such

      materials, as confidential and shall not disseminate such confidential information,

      except as permitted by this Order.




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IV. Special Provisions Regarding HIPAA

   19.    This Order authorizes Defendants to produce documents containing PHI or IIHI during

          the course of discovery to Plaintiffs’ Counsel or to permit inspection, copying, and/or

          scanning of same by Plaintiffs’ Counsel, even if the PHI or IIHI or other private medical

          information concerns incarcerated individuals who are nonparties. When producing any

          documents containing PHI or IIHI or other private medical information, Defendants shall

          attempt to designate it as confidential material; however, such designation shall not be

          necessary for documents like medical records whose nature as protected health

          information is otherwise self-evident. Moreover, the failure of any Party to designate

          protected health information as confidential material shall not excuse the Party utilizing

          or relying upon the same from any duties imposed herein or by law respecting protected

          health information.

   20. This Order constitutes a “qualified protective order” pursuant to the Privacy Rules, 45

          C.F.R. § 164.512(e)(1)(v), promulgated under the Health Insurance Portability and

          Accountability Act (HIPAA).

   21.    A person’s acquisition or disclosure of his or her own protected health information is not

          governed by this Order in any way. Disclosure of PHI or IIHI or other private medical

          information to the person who is the subject of that medical record is not governed or

          restricted by the Order in any way.




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    V.    Photographs and Video Recordings at Site Inspection

         22.    As agreed upon by the Parties, Plaintiffs’ Counsel shall be permitted to inspect, survey,

                measure, photograph, videotape, test and/or sample the properties and any operations at

                the Inspection.

         23.    Any photographs or video recordings taken by Plaintiffs’ Counsel shall be for use in this

                litigation only. The Parties agree to limit copying or reproducing photographs or video

                recordings taken at the Inspection to the extent practicable. The Parties will not disclose

                any photograph or video recording except to: (1) the Parties’ counsel staff, experts, or

                consultants retained for the purpose of this litigation, subject to the limitations set forth

                in paragraphs 14–18 above; (2) deponents and trial witnesses, subject to the limitations

                set forth in paragraphs 14–18 above; (3) court reporters and other court personnel as is

                necessary to conduct this litigation; or (4) any other person agreed upon by the Parties

                and confirmed in writing.

         24.    If any Party intends to use the photographs or video recordings taken during the

                Inspection in court filings, the Party agrees to file such photographs or video recordings

                under seal.1

    VI. Additional Provisions

         25.    No Impact on Arguments Regarding Privilege: This Order shall not limit either Party’s

                ability to make arguments regarding the attorney-client privilege, the work product

                immunity, or any other privilege, right, or immunity, including arguments regarding the

                applicability or inapplicability of any privilege, right, or immunity, or the presence or

                absence of a waiver thereof.


1
 This Order does not, standing alone, authorize the filing of any document into the record under seal. Any party
wishing to file a document designated as confidential into the record under seal pursuant to this Joint Stipulated
Protective Order must make the appropriate showing required to obtain such relief. See Binh Hoa Le v. Exeter Fin.
Corp., 990 F.3d 410, 416-421 (5th Cir. 2021).
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       26.    Modification, Objection, and Further Application Permitted: Nothing in this Order

              shall prevent any Party or other person from: a) applying to the Court for modification of

              this Order or further protective orders relating to discovery in this litigation; b) applying

              to the Court for an order seeking the addition or removal of a redaction or designation of

              a document as containing private medical information, including but not limited to PHI

              and/or IIHI; c) objecting to a discovery request; or d) applying to the Court for an order

              compelling production of documents or an answer to a discovery request.

       27.    Continuing Jurisdiction: The terms of this Protective Order shall survive the final

              termination of this litigation and shall continue to fully apply to all materials containing

              IIHI and/ or PHI until further order of this Court. Following the final termination of this

              litigation, the court shall retain and have jurisdiction over the Parties and all persons who

              received access to such materials.

       28.    Return or Destruction of Protected Health Information: Upon the final termination

              of this litigation, any protected health information accessed pursuant to this Order shall

              be returned or destroyed (including any copies made thereof) as required by the Privacy

              Rules, 45 C.F.R. § 164.512(e)(1)(v)(B), promulgated under the Health Insurance

              Portability and Accountability Act (HIPAA), except where such information has been

              incorporated into Attorney Work Product. If destroyed, that fact shall be certified by

              affidavit and submitted to Defendants. Any document filed under seal with the court shall

              be handled by the court in accordance with its procedures at the conclusion of the

              litigation.2


2
  Under the Court’s General Order No. 2019-4: “[A]ll pleadings and other papers filed under seal in civil and
criminal actions shall be maintained under seal for thirty days following the final disposition of the action. After
that time, all sealed pleadings and other paper shall be placed in the case record unless a District Judgment or
Magistrate Judgment, upon motion and for good cause shown, orders that the pleading or other paper be
maintained under seal….[T]he deadline for filing any motions regarding the unsealing of any document shall be
within thirty days of the final disposition of any action and shall contain a concise statement of reasons maintaining
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      29.    Return or Destruction of Inspection Photographs or Video Recordings: Upon the

             final termination of this litigation, any photographs or video recordings taken at the

             Inspection shall be returned or destroyed (including any copies made thereof), except

             where such information has been incorporated into Attorney Work Product. If destroyed,

             that fact shall be certified by affidavit and submitted to Defendants. Any document filed

             under seal shall be handled by the court in accordance with its procedures at the

             conclusion of the litigation.

                                                Respectfully submitted,

                                                KEOGH, COX & WILSON, LTD.

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                                                (Counsel for Defendants)

                                                - and –




  (Signatures Continued on Following Page)




the pleading or other paper under seal.”
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